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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

YORK DAILY RECORD,                :       Case No.
THE YORK DISPATCH,                :
THE PHILADELPHIA INQUIRER         :
d/b/a/ SPOTLIGHT PA,              :
LNP MEDIA GROUP, INC., and        :
WITF,                             :       Electronically filed
       Plaintiffs,                :
                                  :
             v.                   :
                                  :       COMPLAINT
DANIEL J. BYRNES, in his official :
capacity as Clerk of Court for    :
York County, Pennsylvania,        :
      Defendant.                  :       42 U.S.C. § 1983
                                  :       PRELIMINARY AND
                                  :       PERMANENT INJUNCTIVE
                                  :       RELIEF REQUESTED


COMPLAINT ALLEGING VIOLATION OF CIVIL RIGHTS PURSUANT
TO 42 U.S.C. § 1983 AND SEEKING DECLARATORY AND INJUNCTIVE
                             RELIEF

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      1.       The American system of justice is founded on principles of openness

and transparency. Contemporaneous access to criminal case files ensures that the

public learns about important cases while they are still newsworthy, promotes

accuracy in reporting, safeguards the fairness and legitimacy of criminal

proceedings,     and   fosters   meaningful    public   debate   about—and     greater

understanding of—the criminal justice system. Indeed, for these reasons, the First

Amendment guarantees the public a presumptive right of access to criminal trials

and associated records—a right rooted in the need to ensure that society’s

“constitutionally protected ‘discussion of governmental affairs’ is an informed one.”

Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 604–05 (1982).

      2.       The Pennsylvania Constitution, like the U.S. Constitution, guarantees a

presumptive right of access to court proceedings and court records. See Pa. Const.

art. I, § 11 (“All courts shall be open[.]”); Miller v. Cnty. of Centre, 173 A.3d 1162,

1167 (Pa. 2017); Commonwealth v. Upshur, 924 A.2d 642, 655 (Pa. 2007)

(recognizing the “constitutional presumption of openness of courts”); PA Childcare

LLC v. Flood, 887 A.2d 309, 312 (Pa. Super. Ct. 2005); In re M.B., 819 A.2d 59, 61

(Pa. Super. Ct. 2003) (“This constitutional provision has been referred to as a

‘mandate’ for open and public trials . . . and has been applied in both civil and

criminal cases[.]”); Hutchison v. Luddy, 581 A.2d 578, 582 (Pa. Super. Ct. 1990),

rev’d in part on other grounds, 594 A.2d 307 (Pa. 1991). Parties seeking closure



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bear the burden of overcoming the presumption of openness. See Upshur, 924 A.2d

at 651.

      3.       In York County, Pennsylvania, the public’s presumptive constitutional

right of access to judicial records in criminal cases is routinely violated. Recently

implemented policies and practices of Defendant, the York County Clerk of Courts

(hereinafter, the “Clerk of Courts”), are preventing the press and public from

obtaining timely and complete access to judicial documents. Staff within the Clerk

of Courts office routinely redact non-confidential information from judicial records

without judicial or statutory authorization to do so, and without ensuring that such

redactions are narrowly tailored, and routinely delay or deny access to judicial

records.

      4.       For example, during a three-week period in September 2021, journalists

employed by Plaintiffs requested access to 42 criminal case records from the Clerk

of Courts office but received access to only 14 percent of those records on the same

day they made their request. Access to 71 percent of the records they requested was

delayed up to two days. For another 14 percent of records, the Clerk of Courts office

denied access entirely. Once provided, 76 percent of records were redacted, often

to obscure non-confidential information, and in many instances redacted by

Defendant’s office rather than the parties or court. Such data is consistent with

Plaintiffs’ ongoing experiences requesting records from Defendant’s office. The



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policies and practices of the Clerk of Courts are the direct cause of these delays and

denials, which infringe upon the public’s presumptive right of access to criminal

case files in violation of the First Amendment and Pennsylvania Constitution.

      5.     Plaintiffs the York Daily Record, The York Dispatch, The Philadelphia

Inquirer d/b/a Spotlight PA (“Spotlight PA”), LNP Media Group, Inc., and WITF

(collectively, “Plaintiffs”), bring this action to remedy the denial of their rights to

access judicial records under the U.S. and Pennsylvania Constitutions. Plaintiffs, by

and through their undersigned attorneys, allege the following in support of their

complaint for declaratory and injunctive relief against Defendant Daniel J. Byrnes

in his official capacity as Clerk of Courts for York County, Pennsylvania.

                                     PARTIES

      6.     Plaintiff the York Daily Record (“YDR”) is a publication whose

ultimate parent company is Gannett Co., Inc., the largest U.S. newspaper publisher

by total daily circulation. YDR’s Daily Record/Sunday News publishes a daily print

edition as well as an e-edition at ydr.com.

      7.     Plaintiff The York Dispatch (the “Dispatch”) was founded in 1876 by

Hiram Young. It is the longest continuously published newspaper in York County.

A longtime evening publication, the Dispatch is now published weekday mornings

by The York Dispatch Publishing Co. The news outlet also publishes online at

yorkdispatch.com.



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      8.     YDR and the Dispatch share a principal place of business, located at

1891 Loucks Road, York, York County, Pennsylvania, and are within the

jurisdiction of the Middle District.

      9.     The Philadelphia Inquirer d/b/a Spotlight PA (“Spotlight PA”) is an

independent, non-partisan collaborative newsroom dedicated to producing

investigative journalism for all of Pennsylvania. Spotlight PA is an unincorporated

project operating under the 501(c)(3) status of the Lenfest Institute for Journalism,

which is the nonprofit owner of The Philadelphia Inquirer. Spotlight PA combines

the strengths of The Philadelphia Inquirer in partnership with PennLive/The Patriot-

News, TribLIVE/Pittsburgh Tribune Review, and WITF Public Media. Spotlight

PA investigative journalism appears in news outlets in dozens of communities

throughout Pennsylvania, including York County. The news outlet also posts its

work online at spotlightpa.org. Spotlight PA’s principal place of business is 225

Market Street, Suite 502A, Harrisburg, Dauphin County, Pennsylvania, and is within

the jurisdiction of the Middle District.

      10.    LNP Media Group, Inc. (“LNP”) operates several award-winning

publications and digital platforms, including LNP LancasterOnline, the company’s

flagship daily newspaper and digital property, Lancaster Farming, The Ephrata

Review, The Lititz Record Express, and The Caucus, a publication dedicated to

coverage of government and politics in Pennsylvania. The principal place of



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business for LNP publication The Caucus is 211 State Street, Harrisburg, Dauphin

County, Pennsylvania, and is within the jurisdiction of the Middle District, while the

principal place of business for LNP is 101 N. Queen Street, Lancaster, Lancaster

County, Pennsylvania, which is within the Eastern District.

      11.    WITF broadcast services reach audiences in central Pennsylvania. The

company comprises public broadcasting stations WITF TV, WITF 89.5 & 93.3,

witf.org, WITF Educational Services, and Media Solutions. WITF’s principal place

of business is 4801 Lindle Road, Harrisburg, Dauphin County, Pennsylvania, and is

within the jurisdiction of the Middle District.

      12.    Plaintiffs rely on public access to judicial records to provide news

coverage to the York County community and beyond. Reporters working for

Plaintiffs regularly seek to review judicial records maintained by the York County

Clerk of Courts.

      13.    Defendant Daniel J. Byrnes is the elected Clerk of Courts for York

County, Pennsylvania, with an official office located within the York County

Judicial Center in York, Pennsylvania. He is sued in his official capacity only.

      14.    Defendant oversees maintenance of and access to all judicial records

filed in criminal cases before the York County Court of Common Pleas, the

jurisdiction’s trial court. Defendant’s office maintains a record of docketing and




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events associated with approximately 8,000 to 9,000 criminal cases per year,

according to its website.1

       15.    All parties except for LNP are based in the Middle District of

Pennsylvania.

                                 NATURE OF ACTION

       16.    This civil action seeks preliminary and permanent injunctive relief from

violations of the First Amendment, actionable under 42 U.S.C. § 1983, and the

Pennsylvania Constitution, and further seeks attorney’s fees under 42 U.S.C. § 1988.

Plaintiffs also seek declaratory relief under the Federal Declaratory Judgment Act,

28 U.S.C. § 2201.

                                     JURISDICTION

       17.     This Court has jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1343(a)(3), 1343(a)(4), and 1367.

                                          VENUE

       18.     The claims made in this action arise from events that have occurred or

will occur within this judicial district, and venue is proper in this Court pursuant to

28 U.S.C. § 1391(b).




1
        About Us: Clerk of Courts, York Cnty., https://yorkcountypa.gov/courts-criminal-
justice/court-courtrelated-offices/clerk-of-courts/about-us-clerk-of-courts.html (last accessed
Mar. 2022).



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                                       FACTS

      A.     Plaintiffs have a First Amendment right to access judicial records
             filed in criminal cases.

      19.    The First Amendment guarantees the press and the public a qualified

right of access to criminal proceedings. Globe Newspaper Co., 457 U.S. at 602–03

(criminal trials); Press-Enter. Co. v. Superior Court, 464 U.S. 501, 505 (1984) (voir

dire proceedings); Press-Enter. Co. v. Superior Court, 478 U.S. 1, 13 (1986)

(preliminary hearings); United States v. Smith, 123 F.3d 140, 146 (3d Cir. 1997)

(“The First Amendment right of access to criminal proceedings is firmly

established.”).

      20.    The public’s First Amendment right of access encompasses not only

criminal trials and “other aspects of criminal proceedings such as voir dire,” but also

“‘the records and briefs that are associated with those proceedings.’” United States

v. Thomas, 905 F.3d 276, 281 (3d Cir. 2018) (quoting Smith, 123 F.3d at 146).

      21.    The First Amendment right of access is a right of contemporaneous

access. See United States v. Wecht, 537 F.3d 222, 229 (3d Cir. 2008) (“[T]he value

of the right of access would be seriously undermined if it could not be

contemporaneous.”); see also Doe v. Pub. Citizen, 749 F.3d 246, 272 (4th Cir. 2014)

(“[T]he public and press generally have a contemporaneous right of access to court

documents and proceedings when the right applies.”) (discussing First Amendment

right of access); Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 126 (2d Cir.

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2006) (finding a “presumption of immediate public access attaches under . . . the

First Amendment” (emphasis added)); Grove Fresh Distribs., Inc. v. Everfresh Juice

Co., 24 F.3d 893, 897 (7th Cir. 1994) (“In light of the values which the presumption

of access endeavors to promote, a necessary corollary to the presumption is that once

found to be appropriate, access should be immediate and contemporaneous.” (citing

Nebraska Press Ass’n v. Stuart, 427 U.S. 539 (1976))); In re Cont’l Ill. Sec. Litig.,

732 F.2d 1302, 1310 (7th Cir. 1984). And courts have held that “even a one to two

day delay” to access judicial records “impermissibly burdens the First Amendment.”

Globe Newspaper Co. v. Pokaski, 868 F.2d 497, 507 (1st Cir. 1989); see also Ctr.

for Investigative Reporting v. Se. Pa. Transp. Auth., 975 F.3d 300, 317 (3d Cir. 2020)

(“‘[T]he loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.’” (quoting Elrod v. Burns, 427 U.S.

347, 373 (1976))); Courthouse News Serv. v. Schaefer, 2 F.4th 318, 328 (4th Cir.

2021) (defining “‘contemporaneous’” as same-day or next-day access); Grove Fresh

Distribs., Inc., 24 F.3d at 897 (“[E]ach passing day may constitute a separate and

cognizable infringement of the First Amendment.” (quoting Nebraska Press Ass’n,

423 U.S. at 1329)); Courthouse News Serv. v. N.M. Admin. Off. of Courts, No. 21-

CV-710 (JB) (LF), 2021 WL 4710644, at *1 (D.N.M. Oct. 8, 2021) (First

Amendment requires state courts to provide access to civil complaints within five

business hours of filing); Courthouse News Serv. v. Jackson, No. 09-CV-1844 (MH),



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2009 WL 2163609, at *4 (S.D. Tex. July 20, 2009) (24-to-72-hour access delay for

civil complaints unconstitutional).

      22.    When the constitutional presumption of access attaches to a judicial

record, any restrictions on press and public access must be made by the trial court—

not an administrative office—based on “individualized, specific, particularized

findings on the record that closure is essential to preserve higher values and is

narrowly tailored to that interest.” Commonwealth v. Curley, 189 A.3d 467, 473

(Pa. Super. Ct. 2018) (citing United States v. Antar, 38 F.3d 1348, 1359 (3d Cir.

1994)). These requirements apply to redactions of judicial records. Redactions

restrict access to presumptively public records, so they must be narrowly tailored to

advance a compelling state interest and based on specific findings. See, e.g.,

Thomas, 905 F.3d at 285 (requiring redactions to be “justified and narrowly tailored

in a manner that does not impinge upon the public’s right of access”); McCowan v.

City of Philadelphia, No. 19-CV-3326 (KSM), 2021 WL 3737204, at *4 (E.D. Pa.

Aug. 24, 2021) (requiring redactions to “satisfy strict scrutiny . . . [t]o overcome the

First Amendment hurdle”).

      B.     Plaintiffs have the right under the Pennsylvania Constitution to
             access judicial records filed in criminal cases.

      23.    The Pennsylvania Constitution, like the U.S. Constitution, guarantees a

presumptive right of access to the courts. See Pa. Const. art. I, § 11 (“All courts shall

be open[.]”); see also Pa. Const. art. I, § 7 (“The printing press shall be free to every

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person who may undertake to examine the proceedings of the Legislature or any

branch of government, and no law shall ever be made to restrain the right

thereof.”); Commonwealth v. Contakos, 453 A.2d 578, 580 (Pa. 1982); Upshur, 924

A.2d at 655; In re M.B., 819 A.2d at 61 (“This constitutional provision has been

referred to as a ‘mandate’ for open and public trials . . . and has been applied in both

civil and criminal cases[.]”); Storms ex rel. Storms v. O’Malley, 779 A.2d 548, 568

(Pa. Super. Ct. 2001) (“In Pennsylvania, the common law, the first amendment to

the United States Constitution, and the Pennsylvania Constitution, all support the

principle of openness.” (citation omitted)).

      24.    The presumption of openness extends to judicial records. See Miller,

173   A.3d    at   1167    (“[T]his   principle   of   openness     with   respect   to

public judicial records is . . . grounded in the Pennsylvania Constitution.”);

Commonwealth v. French, 611 A.2d 175, 180 n.12 (Pa. 1992) (“Public trials include

public records.”). Judicial records include records filed with the court. See Miller,

173 A.3d at 1167 (citing Commonwealth v. Long, 922 A.2d 892, 898 (Pa. 2007)).

      25.    Parties seeking closure bear the burden of overcoming the presumption

of openness. See, e.g., Commonwealth v. Fenstermaker, 530 A.2d 414, 418 (Pa.

1987). Closure must be supported by on-the-record findings from the trial court that

the denial of public access serves a compelling government interest and there are no




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less restrictive means to serve that interest. See, e.g., Long, 922 A.2d at 905; PA

ChildCare LLC, 887 A.2d at 312; In re M.B., 819 A.2d at 64.

       26.    In recognition of this constitutional right to access court proceedings

and records, and “guided at all times by the long-standing tradition of access to court

records and the important interests it serves,” Pennsylvania courts adopted the Case

Records Public Access Policy of the Unified Judicial System of Pennsylvania (the

“UJS      Policy”).          See     47     Pa.     Bull.     291     (Jan.     21,     2017),

http://www.pacodeandbulletin.gov/Display/pabull?file=/secure/pabulletin/data/vol

47/47-3/95.html.

       27.    Section 5.0(A) of the UJS Policy provides that courts and records

custodians “shall fulfill a request for access to case records as promptly as possible

under the circumstances existing at the time of the request.”2 If access is delayed or

denied, Section 5.0(B) provides that the records custodian shall inform the requester

of the specific reasons for that delay or denial.

       28.    To obtain copies of criminal court records, UJS Policy Section 6.0 sets

a cost limit of $0.25 per page for copies made by duplication. It “does not authorize

fees for viewing records that are stored at the court facility.”




2
       Case Records Public Access Policy of the Unified Judicial System of Pennsylvania, Unified
Jud.       Sys.      Pa.,       https://www.pacourts.us/Storage/media/pdfs/20211230/165101-
publicrecordspolicy2022.pdf (last accessed Mar. 2022).


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      29.    As to confidentiality, UJS Policy Section 7.0 provides that parties shall

not include six narrowly circumscribed types of information deemed confidential,

such as Social Security numbers, in a court filing, and instead provide such

information, if necessary, on a separate Confidential Information Form.

      30.    Parties and their attorneys in Pennsylvania are solely responsible for

complying with the confidentiality policy; the Clerk of Courts has no role in

redacting confidential information. If a filed record does not comply with UJS

Policy Section 7.0, the policy authorizes the court, not the Clerk of Courts, to bring

the filing into compliance by redacting, sealing, or amending it, and to impose

monetary sanctions on filers. The policy specifies that a party’s noncompliance

“shall not affect access to case records that are otherwise accessible.”

      C.     Defendant is unconstitutionally redacting and delaying or denying
             access to criminal court records in York County.

      31.    In 2006, the office of the York County Clerk of Courts began

electronically imaging all judicial records filed with the court. Public computer

terminals equipped with Laserfiche, the electronic imaging program, were installed

on the first floor of the county courthouse.         On them, users could read—

instantaneously and without a fee—judicial records filed with the court.

      32.    In or around late 2019 or early 2020, the last public computer terminal

was removed. At that time, Plaintiffs and the public were still able to access and




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review judicial records at no cost via Laserfiche-equipped public computer terminals

located on the fourth floor of the courthouse.

      33.    On February 10, 2021, Defendant notified several York County

reporters and editors employed by some of the Plaintiffs that his office would start

charging them for copies of records as of March 1, 2021. In response to a question

about the policy change, Defendant replied on February 11, 2021 that his office

would charge the same amount for electronic and paper copies, and further stated:

“We will not be putting a computer in our lobby.”

      34.    As of March 1, 2021, the 2019–21 fee schedule for the York County

Clerk of Courts set a rate of $0.65 per page for paper copies of judicial records,

despite the statewide UJS Policy setting a $0.25 per-page limit, and a flat rate of

$17.00 for electronic copies, described as a “CD-ROM fee.” A true and correct copy

of the fee schedule is attached hereto as Exhibit A.

      35.    On March 31, 2021, the Pennsylvania NewsMedia Association

(“PNA”) and the Reporters Committee for Freedom of the Press (“RCFP”) requested

that Defendant lower York County judicial records fees to bring them in line with

the UJS Policy and avoid creating financial barriers to access. A true and correct

copy of that request is attached hereto as Exhibit B (the “PNA/RCFP Letter”).

      36.    Shortly thereafter, in April 2021, Defendant disabled the Laserfiche

software on the fourth-floor public courthouse computers. As a result, members of



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the press and public could no longer view judicial records electronically on any

computer maintained by Defendant.

      37.     Instead, on information and belief, Defendant directed his office staff

to personally handle reporters’ and others’ requests to access judicial records. In or

around that time, Defendant’s office initiated a policy and practice of delaying

access to judicial records while staff members reviewed and redacted requested

documents—despite the fact that UJS Policy authorizes only the parties and the court

to redact confidential information. Defendant’s policy and practice has resulted in

frequent redaction of information that is not designated as “confidential” under UJS

Policy.

      38.     On April 22, 2021, Defendant replied to the PNA/RCFP letter, stating

that he had updated the copying costs to $0.25 per page and had removed the $17.00

CD-ROM fee. Defendant stated that he “still ha[d] work to do in order to create a

mechanism so that your client can view any public documents at no charge while

protecting privileged information.” A true and correct copy of Defendant’s April

22, 2021 response letter is attached hereto as Exhibit C.

      39.     By letter dated April 23, 2021, PNA and RCFP responded,

acknowledging Defendant’s changes and drawing attention to continuing concerns,

including the removal of public computers for viewing judicial records electronically

and the Clerk of Courts office’s admitted practice of redacting judicial records in



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violation of constitutional access rights and the UJS Policy. A true and correct copy

of the April 23, 2021 response from PNA and RCFP is attached hereto as Exhibit

D.

      40.    Following additional conversations between Defendant, PNA, and

RCFP, on May 12, 2021, Defendant outlined two ways by which a reporter and the

public could access judicial records without a fee, including (a) reviewing original

judicial records accessible at “the front counter in the Clerk of Courts office”; and

(b) emailing a request for electronic copies of judicial records to the Clerk of Courts

office. Defendant further stated that there would be no fee for reviewing judicial

records in the Clerk of Courts office; that for physical copies a requester would be

charged according to the published fee schedule; and that for emailed documents,

“there will be no fee.” Defendant did not respond to the concerns regarding

redactions. A true and correct copy of the May 12, 2021 response from Defendant

is attached hereto as Exhibit E.

      41.    If Defendant and his office had complied with those representations, if

Defendant’s office had ceased making unauthorized redactions to judicial records,

Plaintiffs would have been able to exercise their constitutionally protected right to

timely access the judicial records maintained by Defendant’s office.

      42.    Instead, Defendant’s office has continued to make improper,

extrajudicial redactions to judicial records requested by Plaintiffs and has continued



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to deny Plaintiffs and the public the contemporaneous access to judicial records they

are entitled to under the U.S. and Pennsylvania Constitutions. Such redactions and

denials of access have occurred regardless of whether the records are requested in

person or via email.

        43.      For example, between September 7 and 30, 2021, reporters employed

by Plaintiffs requested 42 judicial records from the Clerk of Courts office. They

received only six records on the same day as the request. For 13 records, reporters

waited one day; access to 17 records was delayed by two days. The Clerk of Courts

office denied access to six records. The majority—32 of 42—of records were

redacted. Just one record was received on the same day it was requested without

redactions.      See Declarations of Brandon Addeo, Exhibit F; Teresa Boeckel,

Exhibit G; Ed Mahon, Exhibit H; Jack Panyard, Exhibit I; Dylan Segelbaum,

Exhibit J.

   i.         Defendant oversees a policy and practice of redacting and “impounding”
              judicial records without having any legal authority to do so.

        44.      Defendant and employees of his office regularly redact judicial records

without having the authority to do so, and despite the fact that no court has ordered

it, before restricting access.

        45.      These redactions are made without regard to narrow tailoring, and go

far beyond the sharply limited category of confidential information as defined by the




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UJS Policy. For example, publicly available information, such as names of adult

non-parties, is frequently redacted.

      46.    Defendant’s liberal use of extrajudicial redactions does not comport

with the U.S. and Pennsylvania Constitutions, nor the UJS Policy. These redactions

are frequently made by employees in Defendant’s office even though the UJS Policy

provides only a role for the parties and the court in redacting judicial records.

      47.    Further, Defendant’s office also marks cases as “impounded” and

denies all requests for access to judicial records associated with those cases, from

scheduling orders to complaints. This practice is neither authorized by law nor

narrowly tailored.

      48.    Defendant’s office “impounds” cases without any court order or

judicial authorization. On the UJS Portal, which provides online access to docket

sheets (but not judicial records) in the Pennsylvania courts, dockets of “impounded”

cases do not contain any sealing orders from the court. Instead, docket entries

marking cases as “impounded” are filed by “Byrnes, Daniel,” whereas court orders

are filed by the “Court of Common Pleas - York County.”

      49.    No other statute or rule authorizes Defendant’s extrajudicial practice of

“impounding” cases. The Pennsylvania Code’s references to “impounding” largely

involve land and physical property. See, e.g., 7 Pa. Code § 21.4; 52 Pa. Code §




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1055.32; 52 Pa. Code § 30.61. The only reference to “impounding” judicial records

applies in the Orphans’ Court. 231 Pa. Code Rule 15.7(a).

      50.    On information and belief, the “impounded” designation is unique to

Defendant’s office. Cases marked as “impounded” typically involve sexual or

physical offenses against minors. Although Defendant’s office claims to have

adopted this practice pursuant to 42 Pa. C.S. § 5988, that statute only makes

confidential “the name of the minor victim.” Yet rather than redacting the minor’s

name, Defendant’s office denies access entirely. See Declaration of Hurubie Meko,

Exhibit K, ¶¶ 6–8, 13–15, 17–20; Segelbaum Decl. ¶¶ 42–45.

      51.    For example, on February 9, 2022, reporter Hurubie Meko requested to

view the affidavit of probable cause and complaint in Commonwealth v. Rivera (CP-

67-CR-0000424-2021), which involved the prostitution of a minor. Bonnie Marier,

the Clerk of Courts office’s juvenile and front-counter manager, replied on February

23, writing the case “is IMPOUNDED” and denying access. When Meko asked

what “impounded” meant, Marier replied, “not available to the public” and “[t]his

comes as an Order from the Judge.” Yet the docket for that case does not contain

any judicial sealing orders; rather, it contains an entry titled “Impounded” filed by




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“Byrnes, Daniel” on February 10, 2021. See UJS Portal, Case No. CP-67-CR-

0000424-2021.3 See Meko Decl. ¶¶ 2, 6–8.

      52.    On Monday, December 20, 2021, York Dispatch reporter Aimee

Ambrose went to the Clerk of Courts office to view the affidavit of probable cause

and criminal complaint in Commonwealth v. Fink (CP-67-CR-0002449-2021),

involving a shooting at a residence. A staff member in Defendant’s office denied

Ambrose same-day access to the records because Marier was out of the office that

day and purportedly had to review the records before allowing access. Ambrose

received the records from Marier via email two days later, on December 22. They

contained numerous redactions, including redactions to the names of the owner of

the residence and vehicle shot at, the defendant’s co-conspirators, witnesses, and the

defendant’s father, as well as the addresses for the residence shot at, the defendant,

and the defendant’s father. Such redactions are contrary to the UJS Policy and were

evidently made to the records by Defendant’s office. See Declaration of Aimee

Ambrose, Exhibit L, ¶¶ 11–18, Ex. D.

      53.    Also on December 22, 2021, Ambrose emailed Marier to request the

affidavit and criminal complaint of a defendant who pleaded guilty in a child

molestation case, Commonwealth v. Stone (CP-67-CR-0002228-2020).                  Marier



3
      Available at https://ujsportal.pacourts.us/Report/CpDocketSheet?docketNumber=CP-67-
CR-0000424-2021&dnh=X24IOWDFa0H5zfN7zbPooA%3D%3D (last accessed Mar. 2022).

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replied to Ambrose that day, saying “This case is Impounded.” Ambrose has since

been unable to access any files in that case. See id. ¶¶ 19–20, Ex. E. The docket

sheet shows that Defendant “impounded” the case on June 11, 2020, and does not

show any sealing orders from the court. See UJS Portal, Case No. CP-67-CR-

0002228-2020.4

      54.    On December 14, 2021, YDR reporter Dylan Segelbaum requested via

email the criminal complaints, affidavits of probable cause, and informations filed

in three cases, and received them that afternoon. In one of the cases, Commonwealth

v. Rinehart (CP-67-CR-0004651-2021), the name of the adult victim of an alleged

property damage crime was redacted from the criminal complaint and affidavit of

probable cause (but not the information) by Defendant’s office. This is contrary to

the UJS Policy. In another inconsistency, the address of the damaged business

appears to be redacted once in the complaint, but not elsewhere in the same

document. See Segelbaum Decl. ¶ 47.

      55.    On December 10, 2021, YDR reporter Jack Panyard went to the Clerk

of Courts office to review the criminal complaints, affidavits of probable cause, and

informations in Commonwealth v. Cosek (CP-67-CR-0003226-2021, CP-67-CR-

0003227-2021, and CP-67-CR-0003549-2021).               Defendant’s front desk staff



4
      Available at https://ujsportal.pacourts.us/Report/CpDocketSheet?docketNumber=CP-67-
CR-0002228-2020&dnh=LfIUhb7eCGP%2FRqqXijADHw%3D%3D (last accessed Mar. 2022).

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member told Panyard she could not provide access until the following week because

she first had to review the files to see whether any information needed to be redacted

or edited. He received the records via email on December 13. They contained

numerous redactions, including to the victim’s name and the defendant’s address

and date of birth. Meanwhile, a bank account number used by the defendant was not

redacted, though it is confidential under UJS Policy. See Panyard Decl. ¶¶ 2–11.

      56.     On September 28, 2021, Dispatch reporter Brandon Addeo visited the

Clerk of Courts office to review a motion for a new trial in Commonwealth v. Ames

(CP-67-CR-0005889-2019). He was told that Clerk of Courts office staff needed to

“review” the document prior to giving him access to it. More than an hour later,

Addeo was provided a copy of the eight-page document with the names of a doctor

and nurse redacted from the record. Such redactions are in contravention of the UJS

Policy and, on information and belief, the Clerk of Courts did not follow any of the

required procedures before restricting access to this information. See Addeo Decl.

¶¶ 3–5.

      57.     Rachel McDevitt, a reporter for WITF, received requested records via

email four days after contacting Defendant’s office on June 14, 2021. The name of

the adult victim of an alleged trespassing by a U.S. Census worker was redacted

from the records by Defendant’s office, even though there was no compelling or




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lawful reason for obscuring this information, which had already been published in

news articles. See Declaration of Rachel McDevitt, Exhibit M, ¶¶ 3–10.

      58.   On October 21, 2021, Segelbaum requested access via email to the

criminal complaint, affidavit of probable cause, and information in Commonwealth

v. Nieves (CP-67-CR-0005124-2020), which involved charges of aggravated assault

against a minor, along with three other cases. On October 25, 2021, Marier emailed

Segelbaum and said the “Case is Impounded,” denying access to the requested

records. See Segelbaum Decl. ¶ 42. Segelbaum was also denied access to another

“impounded” case on October 29, 2021. Id. ¶ 43. The docket sheets show that the

Clerk of Courts, not a judge, “impounded” the cases. Id. ¶¶ 42–43 & nn.7–8.

      59.   On June 1, 2021, Segelbaum went to Defendant’s office and requested

to review the criminal complaint and affidavit of probable cause in Commonwealth

v. Schalizki (CP-67-CR-0006374-2019), before attending a sentencing hearing in the

case, which was scheduled to occur approximately 45 minutes later in the

courthouse. A Clerk of Courts employee printed out and handed Segelbaum copies

of the complaint and the first page of the affidavit of probable cause. When

Segelbaum asked for the remaining pages, he was told he could not access them until

staff had reviewed them for possible redactions. A supervisor in Defendant’s office

told Segelbaum she would not be able to do this until the following morning.

Segelbaum told her he was there to report on the hearing and needed access to the



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record before the approaching deadline for an article he was writing about the case,

but she repeated that he could not view it that day. See Segelbaum Decl. ¶¶ 22–29.

   ii.         Defendant delays and denies access to records requested in person.

         60.      In addition to, and in part because of, Defendant’s unlawful policy

and practice of redacting and impounding judicial records, Defendant’s office has

delayed or denied access when Plaintiffs requested to view judicial records in

person.

         61.      As noted, Ambrose was denied same-day access to records requested

in person on December 20, 2021 because Marier, a Clerk of Courts employee tasked

with reviewing judicial records for redactions, was out of the office that day, leading

to a two-day delay in access. See Ambrose Decl. ¶¶ 11–18, Ex. D. Similarly, when

Ambrose requested records in person on December 10, 2021, she received them via

email one business day later, on December 13. The email chain contained a

conversation between Marier and another Clerk of Courts employee, Jane Melhorn,

in which Melhorn asked Marier to “please check” her redactions to the judicial

records. After Marier said “Looks good,” Melhorn forwarded those records to

Ambrose. Id. ¶¶ 4–9, Exs. A, B.

         62.      On September 10, 2021, Panyard went to the Clerk of Courts office to

review the complaint, information, and hearing transcripts in Commonwealth v.

Gibson (CP-67-CR-0001513-2019). Defendant’s front desk staff member told



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Panyard that the Clerk of Courts office no longer kept paper records and denied him

access to the records in electronic form. Despite the office’s wholesale withholding

of the requested records, they have not been sealed; a search on the UJS Portal, which

provides public access to docket sheets but not individual records, shows that the

case remains unsealed, so access should be available. See Panyard Decl. ¶¶ 12–17.

          63.      On December 10, 2021, YDR editor Scott Fisher requested to review

records in person at the Clerk of Courts office but was only able to access them after

paying $13.25 for copies, despite informing Defendant’s office that he only wanted

to review the documents in person, and even though Defendant’s putative access

policy provided that electronic documents could be provided via email at no cost.

He experienced the same problem when requesting to review records on May 19,

2021. See Declaration of Scott Fisher, Exhibit N, ¶¶ 3–15.

   iii.         Defendant delays and denies access to records requested via email.

          64.      In other cases, Plaintiffs requested electronic copies of judicial records

by emailing the address provided by Defendant. They, too, experienced delays and

denials of access.

          65.      On September 9, 2021, Segelbaum emailed the address provided by

Defendant seeking electronic copies of the juror list and various exhibits filed in

Commonwealth v. Ray (CP-67-CR-0007541-2019 and CP-67-CR-0007545-2019).

He did not receive them that day and sent a follow-up email on September 10, 2021



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to Marier. Marier asserted that the juror list was not public and denied Segelbaum

access. See Segelbaum Decl. ¶ 41. Both the Third Circuit and Pennsylvania

Supreme Court have recognized a First Amendment right of access to jurors’ names.

See Wecht, 537 F.3d at 239; Long, 922 A.2d at 905.

      66.    On May 28, 2021, LNP reporter Dan Nephin requested electronic

copies of judicial records via email and did not receive a reply until four business

days later, whereupon he was informed that he would have to pay a fee for electronic

copies. After Nephin questioned those charges, he was told he would receive the

records at no cost, but never did. See Declaration of Dan Nephin, Exhibit O, ¶¶ 2–

9.

      67.    The unconstitutional redactions and denials of contemporaneous access

detailed above are reflective of numerous similar incidents experienced by Plaintiffs

over the past year in York County. Defendant’s policies and customs, which deny

Plaintiffs the ability to access criminal court records without improper redactions

and in a contemporaneous manner, violate Plaintiffs’ right of access to judicial

records under the U.S. and Pennsylvania Constitutions.




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                                 COUNT I
                            (Declaratory Relief)
Defendant’s policy and custom of redacting and impounding judicial records
 violates the First Amendment to the U.S. Constitution and Article I, § 11 of
                       the Pennsylvania Constitution

      68.    Plaintiffs incorporate by reference the allegations set forth in

paragraphs 1–67 hereinabove.

      69.    Members of the press and public, including Plaintiffs, have a qualified

right under the First Amendment to the U.S. Constitution and Article I, § 11 of the

Pennsylvania Constitution to inspect judicial records in criminal matters, including

those filed with Defendant the York County Clerk of Courts.

      70.    Plaintiffs seek a declaration pursuant to the Federal Declaratory

Judgment Act, 28 U.S.C. § 2201, that, by acting under color of state law to

implement a policy and custom of redacting public information from judicial records

without authority, without narrowly tailoring such redactions to serve compelling

governmental interests, and without following any procedures before restricting

access to that information, Defendant violates the right of access to judicial records

under the First Amendment and the Pennsylvania Constitution.

      71.    By acting and threatening to act under color of state law to deprive

Plaintiffs of constitutional rights, Defendant has violated and continues to violate

Plaintiffs’ rights, actionable under 42 U.S.C. § 1983.

      72.    Plaintiffs have no adequate remedy available at law.



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                                   COUNT II
                              (Declaratory Relief)
  Defendant’s policy and custom of delaying and denying access to judicial
records violates the First Amendment to the U.S. Constitution and Article I, §
                      11 of the Pennsylvania Constitution

      73.    Plaintiffs incorporate by reference the allegations set forth in

paragraphs 1–72 hereinabove.

      74.    Members of the press and public, including Plaintiffs, have a qualified

right under the First Amendment to the U.S. Constitution and Article I, § 11 of the

Pennsylvania Constitution to contemporaneously inspect judicial records in criminal

matters, including those filed with the York County Clerk of Courts.

      75.    Plaintiffs seek a declaration pursuant to the Federal Declaratory

Judgment Act, 28 U.S.C. § 2201, that, by delaying and denying access to records

under color of state law, Defendant violates the right of access to judicial records

under the First Amendment and Pennsylvania Constitution.

      76.    By acting and threatening to act under color of state law to deprive

Plaintiffs of constitutional rights, Defendant has violated and continues to violate

Plaintiffs’ rights, actionable under 42 U.S.C. § 1983.

      77.    Plaintiffs have no adequate remedy available at law.




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                                COUNT III
                       (Preliminary Injunctive Relief)
Defendant’s policy and custom of redacting and impounding judicial records
 violates the First Amendment to the U.S. Constitution and Article I, § 11 of
                        the Pennsylvania Constitution

      78.    Plaintiffs incorporate by reference the allegations set forth in

paragraphs 1–77 hereinabove.

      79.    In the performance of his duties, under color of state law, Defendant

has denied and delayed access to, and continues to deny and delay access to, judicial

records by implementing a policy and custom of redacting records without authority

or any basis under law. Such redactions are not narrowly tailored to further a

compelling governmental interest and are not uniformly applied.

      80.    In doing so, Defendant has violated, and continues to violate, Plaintiffs’

First Amendment rights and the rights guaranteed to Plaintiffs by Article I, § 11 of

the Pennsylvania Constitution.

      81.    This deprivation of Plaintiffs’ constitutional rights causes Plaintiffs to

suffer immediate, irreparable harm. Elrod, 427 U.S. at 373.

      82.    No adequate remedy exists at law for the immediate, irreparable harm

Defendant’s acts have caused and are causing Plaintiffs. A preliminary injunction

against Defendant’s unconstitutional redactions, which result in denials of access,

would not cause greater harm to Defendant and is in the public interest. Plaintiffs

are therefore entitled to preliminary injunctive relief. See, e.g., Child Evangelism



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Fellowship of N.J. Inc. v. Stafford Twp. Sch. Dist., 386 F.3d 514, 524 (3d Cir. 2004)

(Alito, J.); Tenafly Eruv Ass’n, Inc. v. Borough of Tenafly, 309 F.3d 144, 157 (3d

Cir. 2002).

                                  COUNT IV
                        (Preliminary Injunctive Relief)
  Defendant’s policy and custom of delaying and denying access to judicial
records violates the First Amendment to the U.S. Constitution and Article I, §
                      11 of the Pennsylvania Constitution

      83.     Plaintiffs incorporate by reference the allegations set forth in

paragraphs 1–82 hereinabove.

      84.     In the performance of his duties, under color of state law, Defendant

has implemented a policy and custom of denying and delaying access to judicial

records.

      85.     In doing so, Defendant has violated, and continues to violate, Plaintiffs’

First Amendment rights and the rights guaranteed to Plaintiffs by Article I, § 11 of

the Pennsylvania Constitution.

      86.     This deprivation of Plaintiffs’ constitutional rights causes Plaintiffs to

suffer immediate, irreparable harm. Elrod, 427 U.S. at 373.

      87.     No adequate remedy exists at law for the immediate, irreparable harm

Defendant’s acts have caused and are causing Plaintiffs. A preliminary injunction

against Defendant’s unconstitutional denials of access would not cause greater harm

to Defendant and is in the public interest. Plaintiffs are therefore entitled to



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preliminary injunctive relief. See, e.g., Child Evangelism Fellowship of N.J. Inc.,

386 F.3d at 524; Tenafly Eruv Ass’n, Inc., 309 F.3d at 157.

                                COUNT V
                       (Permanent Injunctive Relief)
Defendant’s policy and custom of redacting and impounding judicial records
 violates the First Amendment to the U.S. Constitution and Article I, § 11 of
                       the Pennsylvania Constitution

      88.     Plaintiffs incorporate by reference the allegations set forth in

paragraphs 1–87 hereinabove.

      89.    Upon information and belief, unless otherwise enjoined by this Court,

Defendant will, under color of state law, continue to carry out the policy and custom

of unconstitutionally redacting judicial records maintained by his office, resulting in

denials of access.

      90.    By doing so, Defendant will continue to violate Plaintiffs’ First

Amendment rights and the rights guaranteed to Plaintiffs by Article I, § 11 of the

Pennsylvania Constitution.

      91.    No adequate remedy exists at law for the ongoing irreparable harm

Defendant’s actions will cause Plaintiffs.

      92.    Any purported hardships faced by Defendant in providing

constitutionally required access to criminal court records are insufficient to justify

infringement on Plaintiffs’ First Amendment rights.




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      93.    Plaintiffs are therefore entitled to permanent injunctive relief. See, e.g.,

Ctr. for Investigative Reporting, 975 F.3d at 317; Pa. Pro. Liab. Joint Underwriting

Ass’n v. Wolf, 509 F. Supp. 3d 212, 235 (M.D. Pa. 2020); Stilp v. Contino, 743 F.

Supp. 2d 460, 466–71 (M.D. Pa. 2010).

                                  COUNT VI
                         (Permanent Injunctive Relief)
  Defendant’s policy and custom of delaying and denying access to judicial
records violates the First Amendment to the U.S. Constitution and Article I, §
                      11 of the Pennsylvania Constitution

      94.     Plaintiffs incorporate by reference the allegations set forth in

paragraphs 1–93 hereinabove.

      95.    Upon information and belief, unless otherwise enjoined by this Court,

Defendant will, under color of state law, continue to delay and deny access to judicial

records.

      96.    By doing so, Defendant will continue to violate Plaintiffs’ First

Amendment rights and the rights guaranteed to Plaintiffs by Article I, § 11 of the

Pennsylvania Constitution.

      97.    No adequate remedy exists at law for the ongoing irreparable harm

Defendant’s actions will cause Plaintiffs.

      98.    Any purported hardships faced by Defendant in providing

constitutionally required access to criminal court records are insufficient to justify

infringement on Plaintiffs’ First Amendment rights.



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      99.    Plaintiffs are therefore entitled to permanent injunctive relief. See, e.g.,

Ctr. for Investigative Reporting, 975 F.3d at 317; Pa. Pro. Liab. Joint Underwriting

Ass’n, 509 F. Supp. 3d at 235; Stilp, 743 F. Supp. 2d at 466–71.

                              PRAYER FOR RELIEF

      WHEREFORE, upon all allegations and counts alleged herein, Plaintiffs

respectfully ask that this Court:

      A.     preliminarily and permanently enjoin Defendant, in his official

capacity, including his agents, assistants, successors, employees, and all persons

acting in concert or cooperation with him, or at his direction or under his control,

from continuing his policies and practices resulting in delayed, costly, and

improperly restricted access to judicial records;

      B.     issue judgment pursuant to 28 U.S.C. § 2201 declaring Defendant’s

policies and practices that cause delays in and denials of access to criminal court

records violate Plaintiffs’ constitutional right of access to judicial records under the

U.S. and Pennsylvania Constitutions;

      C.     issue an award of costs and reasonable attorney’s fees pursuant to 42

U.S.C. § 1988; and

      D.     grant such other relief as the Court deems just and proper.

Dated: March 11, 2022

                                        Respectfully submitted,



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                            By /s/ Paula Knudsen Burke

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